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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


HAMIDUR RAHMAN, on behalf of himself,                           Case No.:
FLSA Collective Plaintiffs and the Class,
                                              Plaintiff,        CLASS AND COLLECTIVE
                                                                ACTION COMPLAINT
                               -against-

LIMANI 51, LLC,                                                 JURY TRIAL DEMANDED
    d/b/a LIMANI,
ESTIATORIO LIMANI LLC
    d/b/a LIMANI,
CHRISTOS SPYROPOULOS, and
JOHN ALCIVIADES,

                                              Defendants.


                                            COMPLAINT

       Plaintiff HAMIDUR RAHMAN (“Plaintiff”), on behalf of himself and all others similarly

situated, by and through his undersigned attorneys, as and for his Complaint against Defendants

LIMANI 51, LLC d/b/a LIMANI, and ESTIATORIO LIMANI LLC d/b/a LIMANI (collectively

“Corporate Defendants”) and CHRISTOS SPYROPOULOS, and JOHN ALCIVIADES (the

“Individual Defendants,” and together with Corporate Defendants, “Defendants”), states as

follows:

                                           INTRODUCTION

       1.       Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.
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§§201 et. seq. (“FLSA”), that he is entitled to recover from Defendants: (1) compensation for

improperly deducted meal credits, (2) liquidated damages and (3) attorneys’ fees and costs.

       2.       Plaintiff further alleges that, pursuant to the New York Labor Law (“NYLL”), he

is entitled to recover from Defendants: (1) unpaid wages due to invalid tip credit, (2) compensation

for improperly deducted meal credits, (3) liquidated damages, (4) statutory penalties and (5)

attorneys’ fees and costs.

       3.       Plaintiff furthers allege that, pursuant to New York State Human Rights Law N.Y.

Exec. Law § 296 (“NYSHRL”), Plaintiffs are entitled to recover from Defendants for

discrimination on the basis of race and national origin: (1) back pay, (2) front pay, (3)

compensatory damages, (4) punitive damages and (5) attorneys’ fees and costs.

       4.       Plaintiff furthers allege that, pursuant to New York City Human Rights Law

Administrative Code of City of NY § 8-107 (“NYCHRL”), Plaintiffs are entitled to recover from

Defendants for discrimination on the basis of race and national origin: (1) back pay, (2) front pay,

(3) compensatory damages, (4) punitive damages and (5) attorneys’ fees and costs.

                                 JURISDICTION, AND VENUE

       5.       This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b),

28U.S.C. §§1331, 1337 and 1343, and has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. §1367.

       6.       Venue is proper in the Southern District pursuant to 28 U.S.C. §1391.

                                             PARTIES

       7.       At all times relevant herein, Plaintiff was and is a resident of the State of New

York, Queens County.

       8.       Defendants own and operate two restaurants under the trade name “Limani ” at
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the following locations:

                a. 45 Rockefeller Plaza, New York, NY 10111 (“Limani 51”);

                b. 1043 Northern Boulevard, Roslyn, NY 11576 (“Limani Roslyn”) (collectively,

                   the “Restaurants”).

Defendants operate the Restaurants as a single integrated enterprise, under the control of Individual

Defendants CHRISTOS SPYROPOULOS, and JOHN ALCIVIADES. Specifically, the

Restaurants are engaged in related activities, share common ownership and have a common

business purpose. Defendants’ Restaurants are advertised jointly on their website:

https://www.limani.com/. Each of the Restaurants share a common look and feel, use the same

logos, and serve similar menu items. The Restaurants share the “LIMANI” trademark and

employees at both locations wear uniforms and use equipment bearing the same trade name and

logo. Defendants provide the same terms of employment to employees at both locations

       9.       At all times relevant herein, Corporate Defendant LIMANI 51, LLC d/b/a LIMANI,

was and is a domestic limited liabiltiy company duly organized under and existing by virtue of the

laws of the State of New York, with a service of process address located at c/o LIMANI 51, LLC

10 Hickory Drive, Old Brookville, NY 11545, and having its principal place of business at 45

Rockefeller Plaza, New York, NY 10111.

       10.      At all times relevant herein, Corporate Defendant ESTIATORIO LIMANI LLC

d/b/a LIMANI, was and is a domestic limited liability company duly organized under and existing

by virtue of the laws of the State of New York, with a service of process address and principal

place of business at 1043 Northern Boulevard, Roslyn, NY, 11576

       11.      Individual Defendant CHRISTOS SPYROPOULOS is a owner/partner of

Corporate Defendants. Individual Defendant CHRISTOS SPYROPOULOS exercised control over
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the employment terms and conditions of Plaintiff, FLSA Collective Plaintiffs, and Class members.

Individual Defendant CHRISTOS SPYROPOULOS had and exercised the power and authority to

(i) fire and hire, (ii) determine rate and method of pay, (iii) determine work schedules, and (iv)

otherwise affect the quality of employment of Plaintiffs, FLSA Collective Plaintiffs, and Class

members. At all times, employees could complain to Individual Defendant CHRISTOS

SPYROPOULOS regarding any of the terms of their employment, and Individual Defendant

CHRISTOS SPYROPOULOS would have the authority to effect any changes to the quality and

terms of their employment. Individual Defendant CHRISTOS SPYROPOULOS ensured that

employees effectively served customers and exercised functional control over the business and

financial    operations   of   Corporate   Defendants.    Individual    Defendant    CHRISTOS

SPYROPOULOS had the power and authority to supervise and control supervisors of Plaintiff,

FLSA Collective Plaintiffs and Class members and could reprimand employees.

       12.      Individual Defendant JOHN ALCIVIADES is a owner/partner of Corporate

Defendants. Individual Defendant JOHN ALCIVIADES exercised control over the employment

terms and conditions of Plaintiff, FLSA Collective Plaintiffs, and Class members. Individual

Defendant JOHN ALCIVIADES had and exercised the power and authority to (i) fire and hire, (ii)

determine rate and method of pay, (iii) determine work schedules, and (iv) otherwise affect the

quality of employment of Plaintiffs, FLSA Collective Plaintiffs, and Class members. At all times,

employees could complain to Individual Defendant JOHN ALCIVIADES regarding any of the

terms of their employment, and Individual Defendant JOHN ALCIVIADES would have the

authority to effect any changes to the quality and terms of their employment. Individual Defendant

JOHN ALCIVIADES ensured that employees effectively served customers and exercised

functional control over the business and financial operations of Corporate Defendants. Individual
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Defendant JOHN ALCIVIADES had the power and authority to supervise and control supervisors

of Plaintiff, FLSA Collective Plaintiffs and Class members and could reprimand employees.

       13.     At all relevant times, Defendants were and continue to be an “enterprise engaged

in commerce” within the meaning of the FLSA.

       14.     At all relevant times, the work performed by Plaintiff was directly essential to the

business operated by Defendants.

       15.     At all relevant times, Defendants employed at least eleven (11) employees as

defined under the NYLL.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

       16.     Plaintiff HAMIDUR RAHMAN brings claims for relief as a collective action

pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all current and former non-

exempt employees (including but not limited to servers, bussers, bartenders, food runners)

employed by Defendant on or after the date that is six years before the filing of the Complaint in

this case as defined herein (“FLSA Collective Plaintiffs”).

       17.     At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them compensation for the invalid meal credit deductions. The claims of Plaintiffs stated herein

are essentially the same as those of other FLSA Collective Plaintiffs.

       18.     The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to §16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA Collective Plaintiffs

are readily ascertainable. For purposes of notice and other purposes related to this action, their
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names and addresses are readily available from the Defendants. Notice can be provided to the

FLSA Collective Plaintiffs via first class mail to the last address known to Defendants.

                      RULE 23 CLASS ALLEGATIONS – NEW YORK

       19.     Plaintiff HAMIDUR RAHMAN bring claims for relief pursuant to the Federal

Rules of Civil Procedure (“F.R.C.P.”) Rule 23, on behalf of all current and former non-exempt

employees (including but not limited to servers, bussers, bartenders, food runners) employed by

Defendants on or after the date that is six years before the filing of the Complaint in this case as

defined herein (the “Class Period”).

       20.     All said persons, including Plaintiffs, are referred to herein as the “Class.” The

Class members are readily ascertainable. The number and identity of the Class members are

determinable from the records of Defendants. The hours assigned and worked, the position held,

and rates of pay for each Class member may also be determinable from Defendants’ records. For

purposes of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under F.R.C.P. 23.

       21.     The proposed Class is so numerous such that a joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

Although the precise number of such persons is unknown because the facts on which the

calculation of that number rests presently within the sole control of Defendants, there is no doubt

that there are more than forty (40) members of the Class.

       22.     Plaintiffs’ claims are typical of those claims that could be alleged by any member

of the Class, and the relief sought is typical of the relief, that would be sought by each member of

the Class in separate actions. All the Class members were subject to the same corporate practices

of Defendants (i) failing to pay proper wages due to an invalid tip credit; (ii) improperly deducting
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meal credits from employees’ wages; and (iii) failing to provide proper wage notices that were in

compliance with the requirements under the NYLL.

       23.     Defendants’ corporate-wide policies and practices affected all Class members

similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

Class member. Plaintiff sustained similar losses, injuries, and damages as other Class members,

wth such injuries and damages arising from the same unlawful policies, practices, and procedures.

       24.     Plaintiff is able to fairly and adequately protect the interests of the Class and have

no interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and

competent in both class action litigation and employment litigation, and have previously

represented plaintiffs in wage and hour cases.

       25.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a large number of similarly situated

persons to prosecute common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because losses, injuries and damages suffered by each of the individual Class members are small

in the sense pertinent to a class action analysis, the expenses and burden of individual litigation

would make it extremely difficult or impossible for the individual Class members to redress the

wrongs done to them. On the other hand, important public interests will be served by addressing

the matter as a class action. The adjudication of individual litigation claims would result in a great

expenditure of Court and public resources; however, treating the claims as a class action would

result in a significant saving of these costs. The prosecution of separate actions by individual
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members of the Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Class, establishing incompatible standards of conduct for

Defendants and resulting in the impairment of class members’ rights and the disposition of their

interests through actions to which they were not parties. The issues in this action can be decided

by means of common, class-wide proof. In addition, if appropriate, the Court can, and is

empowered to, fashion methods to efficiently manage this action as a class action.

       26.      Defendants and other employers throughout the state violate the NYLL. Current

employees are often afraid to assert their rights out of fear of direct or indirect retaliation. Former

employees are fearful of bringing claims because doing so can harm their employment, future

employment, and future efforts to secure employment. Class actions provide class members who

are not named in the Complaint a degree of anonymity, which allows for the vindication of their

rights while eliminating or reducing these risks.

       27.      There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

             a) Whether Defendants employed Plaintiff and the Class members within the meaning

                of the New York law;

             b) What are and were the policies, practices, programs, procedures, protocols and

                plans of Defendants regarding the types of work and labor for which Defendants

                did not pay the Class members properly;

             c) At what common rate, or rates subject to common methods of calculation, was and

                are Defendants required to pay the Class members for their work;

             d) Whether Defendants improperly deducted meal credits;
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             e) Whether Defendants properly provided notice to all tipped employees that

                Defendants were taking a tip credit;

             f) Whether Defendants accurately tracked the amount of tips earned each day and

                maintained records thereof;

             g) Whether Defendants took the proper amount of tip credit allowance for each

                payment period under the New York Labor Law;

             h) Whether Defendants provided proper wage statements informing all non-exempt

                employees of information required to be provided on wage statements under the

                New York Labor Law;

             i) Whether Defendants provided proper wage notice, at date of hiring and annually

                thereafter, to all non-exempt employees per requirements of the New York Labor

                Law.

                                   STATEMENT OF FACTS

       28.      In or around April 17, 2017, Plaintiff HAMIDUR RAHMAN was hired by

Defendants as a server at Defendants’ restaurant LIMANI, located at 45 Rockefeller Plaza, New

York, NY 10111. Plaintiff’s employment was constructively terminated in or around September

8, 2019.

       29.      Throughout his employment, Plaintiff HAMIDUR RAHMAN’s schedule varied

week by week, but he typically worked three 10.5 hour shifts Monday through Friday, and then

two additional shifts of 4.5 or 6.5 hours, for an average total of five (5) days and approximately

40.5 to 44.5 hours per week.

       30.      Throughout his employment with Defendants, Plaintiff HAMIDUR RAHMAN

was paid the tip-credit minimum minimum wage for a food service worker of a large employer in
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the City of New York..

        31.     Throughout Plaintiff HAMIDUR RAHMAN’s employment, Defendants also

automatically deducted a meal credit from employees’ wages for each shift they worked, without

regard to whether their employees actually consumed the credited meal. Plaintiff never ate at the

Restaurant but still had meal credits deducted from his wages. Similarly, Class members had a

meal credit deducted from their wages whether they actually consumed the credited meals or not.

        32.     While employed by Defendants, Plaintiff HAMIDUR RAHMAN did not receive a

proper wage notice upon hiring, or upon changes in the information in the notice thereafter.

Similarly, Class members never received wage and hour notices.

        33.     Plaintiff HAMIDUR RAHMAN and Class Members were paid below the minimum

wage at an invalid “tip credit” minimum wage. With respect to Plaintiff and Class Members,

Defendants were not entitled to claim any tip credit allowance under NYLL because Defendants

(i) failed to accurately track daily tips earned or maintain records thereof, and (ii) failed to properly

provide tip credit notice at hiring and annually thereafter in violation of the NYLL.

        34.     At no time during the relevant time periods did Defendants provide Plaintiff or

Class members with proper wage notices, at the beginning of employment and annually thereafter,

as required by the NYLL.

        35.     Defendants knowingly and willfully operated their business with a policy of not

providing proper wage notices, at the beginning of employment and annually thereafter, pursuant

to the requirements of the NYLL.

        36.     During Plaintiff’s emplyoment by Defendants, Defendants permitted managerial

employees to discriminate against Plaintiff.

        37.     Plaintiff, who is of Bangladeshi ethnicity and descent, worked as a waiter at
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Defendants’ Greek and Mediterranean restaurant. Like the other servers at the Restaurant (and

indeed many servers in the New York area and elsewhere), the majority of Plaintiff’s income came

from tips, which were allocated to him and other tipped employees through the Restaurant’s tip

pool pursuant to a points system.

        38.     Throughout his employment with Defendants, Plaintiff was the only member of

the waitstaff who was not white and of Albanian or other Mediterranean descent.

        39.     Shortly after his employment, Plaintiff began to notice that he was treated

differently than the other members of the waitstaff. For the first three months of his employment,

he was allocated fewer points in the tip pool than the other waiters. Plaintiff was told that this was

because he was a new hire, but he watched newly-hired white waiters get allocated more points

than him within a week or two of their hire.

        40.     Plaintiff also noticed that he was always given the closing shift. The closing shift

requires additional work (cleaning, putting up chairs, etc.) after the Restaurant closes, which means

more work and fewer tips. The white waiters at the Restaurant were not given the closing shift

nearly as often as Plaintiff.

        41.     Finally, despite working at the Restaurant for nearly two years, Plaintiff was never

promoted to captain. Captains are allocated more points in the tip pool than other waiters, a

difference of as much as $100 per shift. Other (white and Mediterranean) waiters regularly

received better assignments and were promoted ahead of him without regard to seniority or

performance.

        42.     Plaintiff was told throughout his employment that promotion to captain was based

upon seniority. During his employment with Defendants, Plaintiff watched white waiters who had

more seniority than him be promoted to captains, and eagerly awaited his turn. But Plaintiff never
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received the promotion. Plaintiff subsequently saw white waiters who had less seniority than him

be promoted to captain.

       43.     Other employees at the Restaurant subsequently told Plaintiff that he was not

promoted to captain because he was not white enough.

       44.     Plaintiff repeatedly complained to the managers and owners of the Restaurant about

his disparate treatment, including new white waiters getting promoted ahead of him. But the

discriminatory conduct continued unaddressed.

       45.     On or around September 8, 2019, after watching less-senior white waiters

repeatedly get promoted to captain ahead of him and frustrated by management and ownership’s

inaction in response to his complaints, Plaintiff quit his employment at the Restaurant. This

resignation constituted a constructive termination by Defendants.

       46.     Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

Collective Plaintiffs and Class members, in this litigation and have agreed to pay the firm a

reasonable fee for its services.

                                       STATEMENT OF CLAIM

                                                 COUNT I

                      VIOLATION OF THE FAIR LABOR STANDARDS ACT

       47.     Plaintiffs reallege and reaver Paragraphs 1 through 46 of this Class and Collective

Action Complaint as if fully set forth herein.

       48.     At all relevant times, Defendants were and continue to be employers engaged in

interstate commerce and/or the production of goods for commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff and FLSA Collective Plaintiffs are

covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).
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       49.     At all relevant times, Defendants employed Plaintiff and FLSA Collective Plaintiffs

within the meaning of the FLSA.

       50.      At all relevant times, the Defendants had gross annual revenues in excess of

$500,000.

       51.     At all relevant times, Defendants had a policy and practice of improperly deducting

meal credits from Plaintiffs and FLSA Collective regardless of whether they consumed the meals

in question.

       52.     Records, if any, concerning the number of hours worked by Plaintiff and FLSA

Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA Collective Plaintiffs

should be in the possession and custody of the Defendants. Plaintiffs intend to obtain these records

by appropriate discovery proceedings to be taken promptly in this case and, if necessary, will then

seek leave of Court to amend this Complaint to set forth the precise amount due.

       53.     Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

Plaintiffs of their rights under the FLSA.

       54.     As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e., double) damages pursuant

to the FLSA.

       55.     Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and FLSA

Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid wages

due to invalid meal credits, plus an equal amount as liquidated damages.

       56.     Plaintiff and FLSA Collective Plaintiffs are entitled to an award of his reasonable

attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).
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                                            COUNT II

                     VIOLATION OF THE NEW YORK LABOR LAW

       57.     Plaintiff realleges and reavers Paragraphs 1 through 56 of this Class and Collective

Action Complaint as if fully set forth herein

       58.     At all relevant times, Plaintiff and Class members were employed by Defendants

within the meaning of the NYLL, §§ 2 and 651.

       59.     Defendants willfully violated Plaintiff and Class members’ rights by failing to pay

them wages in the lawful amount for all hours worked due to an invalid tip credit.

       60.     Defendants willfully violated Plaintiff and Class members’ rights by deducting a

meal credit from the wages of Plaintiff and other Class members for meals which were not

provided or not consumed by Plaintiff and Class members, in violation of the NYLL.

       61.     Defendants knowingly and willfully failed to provide proper wage and hour notices

to employees at the beginning of employment and annually thereafter pursuant to the requirements

of the NYLL.

       62.     Due to the Defendants’ NYLL violations, Plaintiffs and Class members are entitled

to recover from Defendants’ unpaid wages due to an invalid tip credit, compensation for

improperly deducted meal credits, reasonable attorneys’ fees, liquidated damages, statutory

penalties and costs and disbursements of the action, pursuant to NYLL.

                                           COUNT III

             VIOLATION OF THE NEW YORK STATE HUMAN RIGHTS LAW

       63.     Plaintiff realleges and reavers Paragraphs 1 through 62 of this Class and Collective

Action Complaint as if fully set forth herein.

       64.     The New York State Human Rights Law (“NYSHRL”) prohibits discrimination in
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the terms, conditions, and privileges of employment, and the retaliation thereof, on the basis of

race and national origin.

       65.      Plaintiff is an employee and qualified persons within the meaning of NYSHRL and

Defendants are covered employers under the NYSHRL.

       66.      Defendants operated a business that discriminated against Plaintiffs in violation of

the NYSHRL by discriminating against Plaintiff in violation of Section 296(1)(a) with respect to

the terms, conditions, and privileges of his employment because of his race and national origin in

ways including specifically but without limitation:

             a. Paying him less than similarly-situated white waiters;

             b. Giving him less-desirable shifts than similarly-situated white waiters;

             c. Denying him a promotion to which he otherwise would have been entitled; and

             d. Constructively terminating him.

       67.      Defendants were on notice of the discriminatory conduct and took no action to

resolve it. Specifically, Plaintiff complained to management about being assigned worse shifts

and less-senior white waiters being promoted ahead of him, but these activities continued.

       68.      Plaintiff’s constructive termination after his complaints constituted further

discrimination and retaliation in violation of Section 296(7) of the NYSHRL.

       69.      Individual Defendants CHRISTOS SPYROPOULOS, and JOHN ALCIVIADES

had control over the terms and conditions of Plaintiff’s employment and as such aided, abetted,

incited, compelled, and/or coerced the discrimination described herein in violation of Section

296(6) of the NYSHRL.

       70.      Defendants’ conduct was intentional, malicious and in reckless disregard of

Plaintiffs’ protected rights under Section 296 of the NYSHRL.
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       71.      As a result of Defendants’ unlawful discriminatory practices, Plaintiffs sustained

injury, including economic damages and past and future physical and emotional distress.

       72.      Due to Defendants’ violations under the NYSHRL, based on discrimination on the

basis of race and national origin, Plaintiff is entitled to recover from Defendants: (1) back pay, (2)

front pay, (3) compensatory damages, (4) punitive damages and (5) attorneys fees’ and costs.

                                            COUNT IV

             VIOLATION OF THE NEW YORK CITY HUMAN RIGHTS LAW

       73.      Plaintiff realleges and reavers Paragraphs 1 through 72 of this Class and Collective

Action Complaint as if fully set forth herein.

       74.      The New York City Human Rights Law (“NYCHRL”) prohibits discrimination in

the terms, conditions, and privileges of employment, and the retaliation thereof, on the basis of

race and national origin.

       75.      Defendants have and have had at all relevant times herein, at least four (4) persons

in their employ. Plaintiffs are employees and qualified persons within the meaning of NYCHRL

and Defendants are covered employers under the NYCHRL.

       76.      Defendants operated a business that discriminated against Plaintiff in violation of

the NYCHRL by discriminating against Plaintiff with respect to the terms, conditions, and

privileges of his employment because of his race and national origin in ways including specifically

but without limitation:

             a. Paying him less than similarly-situated white waiters;

             b. Giving him less-desirable shifts than similarly-situated white waiters;

             c. Denying him a promotion to which he otherwise would have been entitled; and

             d. Constructively terminating him.
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       77.      Defendants were on notice of the discriminatory conduct and took no action to

resolve it. Specifically, Plaintiff complained to management about being assigned worse shifts

and less-senior white waiters being promoted ahead of him, but these activities continued.

       78.      Plaintiff’s constructive termination after his complaints constituted further

discrimination and retaliation in violation of Section 8-107(7) of the NYCHRL.

       79.      Individual Defendants CHRISTOS SPYROPOULOS, and JOHN ALCIVIADES

had control over the terms and conditions of Plaintiff’s employment and as such aided, abetted,

incited, compelled, and/or coerced the discrimination described herein in violation of Section 8-

107(6) of the NYCHRL.

       80.      The discrimination described herein occurred with malice and reckless disregard of

Plaintiff’s rights under the NYCHRL.

       81.      As a result of Defendants’ unlawful employment practice, Plaintiffs sustained

injury, including economic damages, past and future physical and emotional distress and the costs

of bringing this action.

       82.      Due to Defendants’ violations under the NYCHRL, as amended, based on

discrimination on the basis of race and national origin, Plaintiffs are entitled to recover from

Defendants: (1) back pay, (2) front pay, (3) compensatory damages, (4) punitive damages, and (5)

attorneys’ fees and costs

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court assume jurisdiction herein

and thereafter grant the following relief:

       a. Compensatory damages in an amount to be determined at trial, including unpaid

             minimum, regular, and overtime wages, compensation for emotional distress and pain
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   and suffering, and all other damages to which Plaintiff is entitled;

b. A declaratory judgment that the practices complained of herein are unlawful under

   the FLSA, NYLL, NYSHRL and NYCHRL;

c. An injunction against Defendants and its officers, agents, successors, employees,

   representatives and any and all persons acting in concert with them as provided by

   law, from engaging in each of the unlawful practices, policies and patterns set forth

   herein;

d. An award of unpaid wages due under the NYLL due to Defendants’ policy of claiming

   an invalid tip credit;

e. An award of improperly deducted meal credits under the FLSA and the NYLL;

f. An award of liquidated and/or punitive damages as a result of Defendants’ willful

   failure to pay wages for all hours worked pursuant to 29 U.S.C. § 216;

g. An award of liquidated and/or punitive damages as a result of Defendants’ willful

   failure to pay proper wages due to an invalid tip credit pursuant to the NYLL;

h. An award of back pay, compensatory damages and punitive damages due under the

   NYSHRL;

i. An award of back pay, compensatory damages and punitive damages due under the

   NYCHRL;

j. An award of prejudgment and postjudgment interest, costs and expenses of this action

   together with reasonable attorneys’ and expert fees and statutory penalties;

k. Designation of Plaintiff as the Representative of the FLSA Collective Plaintiffs;

l. Designation of this action as a class action pursuant to F.R.C.P. 23;

m. Designation of Plaintiff as Representative of the Class; and
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        n. Such other and further relief as this Court deems just and proper.

                                           JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable as of right by jury.


Dated: August 20, 2020
       New York, New York
                                                       LEE LITIGATION GROUP, PLLC
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